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 8                              UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                  SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                       Case No. 3:21-cr-00402 RS
12                              Plaintiff,           DEFENDANT VICTOR MAKRAS’
                                                     OBJECTION TO EXCLUSION
13             v.                                    OF UNVACCINATED JURORS
14   VICTOR MAKRAS,                                  Dept.:       Courtroom 3 – 17th Floor
                                                     Judge:       Hon. Richard Seeborg
15                              Defendant.
                                                     Date Filed: October 19, 2021
16
                                                     Trial Date: August 15, 2022
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 1             At the June 28, 2022 status conference, the Court indicated that, although it has not “made

 2   a decision yet,” it is inclined to “mandate that all jurors be vaccinated.” See Hr’g Tr. (June 28,

 3   2022), 24–25; see also id. at 25:4–6 (“[I]t is vastly preferable for us to have a vaccinated jury.”).

 4             Mr. Makras objects to the wholesale, systematic exclusion of unvaccinated residents from

 5   jury service. A vaccine mandate would violate the “fair cross section” requirements of the Sixth

 6   Amendment and the Jury Selection and Service Act by disproportionately excluding residents of

 7   specific, identifiable race groups and ages. Across California, White and Asian residents are

 8   often 25 to 30% more likely to be vaccinated than other groups are; the numbers in the Bay Area

 9   are similar. There is also no longer a need for vaccine mandates: what evidence there is about the

10   new Omicron subvariants, BA.4 and BA.5, suggests that the virus now spreads just as easily

11   among the vaccinated. Mr. Makras is, of course, cognizant of the health risks that come with any

12   trial in 2022, and is ready and willing to work with the Court to minimize them. 1 But he asks that

13   this Court proceed according to the standard “safety protocols” in place in this District2—by

14   establishing mask mandates and physical-distancing requirements—without unfairly skewing the

15   jury pool.

16   I.        BACKGROUND

17             There is no doubt that the COVID-19 pandemic has altered our lives. But over the past

18   year, as the virus has evolved and Americans have learned to live with it, most pandemic-related

19   restrictions have fallen away. San Francisco and the State of California have dropped indoor
20   “mask mandates.” 3 Commuters and air passengers—who never needed to prove that they were

21   vaccinated to travel domestically—are no longer required to wear masks on public

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       Mr. Makras and his counsel have no objection, for instance, to the Court’s proposed masking
23   requirements. See Hr’g Tr. (June 28, 2022), 26:10–25.
     2
       Update on Court Proceedings, Operations, and Safety Protocols (May 6, 2022), available at
24   https://cand.uscourts.gov/notices/safety-protocols-for-northern-district-of-california-courthouses-
     updated-july-28-2021/ (requiring visitors to any courthouse to complete a pre-screening
25   questionnaire and leaving each judge to determine “[m]ask and physical distancing requirements”
     for their courtrooms).
26   3
       Indeed, earlier this year, the City of San Francisco eliminated mask mandates even for official
27   city meetings: masks are “no longer required in public commission and board hearing rooms in
     San Francisco city facilities.” See NBC Bay Area, SF to Drop Mask Mandate for In-Person
28   Public Meetings Starting [April 25, 2022], available at https://www.nbcbayarea.com/news/
     local/sf-to-drop-mask-mandate-for-in-person-public-meetings-starting-monday/2872142/.
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 1   transportation.4 And restaurants, bars, and other gathering places in the Bay Area no longer

 2   require proof of vaccination before entry.

 3             These changes are not just the result of fatigue. Increasingly, it appears that vaccinations

 4   no longer protect us from infection or transmission of COVID-19. In particular, the two new

 5   dominant subvariants of the virus, BA.4 and BA.5, have “exhibit[ed] the qualities of escape

 6   artists, able to elude some of the antibodies produced after coronavirus vaccinations.” 5 What sets

 7   these new subvariants apart is that they “carr[y] an abundance of mutations”—about 50 in all,

 8   most of which are “on the spike protein, which is the viral protein that vaccines train the immune

 9   system to recognize and attack.”6 They are, unfortunately, much less susceptible to vaccines.

10             What’s more, although only two-thirds of Americans have been vaccinated, almost

11   everyone else has already contracted COVID-19. As a result, the “seroprevalence” rate in the

12   United States—the percentage of those 16 or older who “have developed antibodies against

13   SARS-CoV-2” from vaccination or infection—is now up to 95%. 7 To the extent that antibodies

14   help prevent new infections, and there is no longer much evidence that they do, the vast majority

15   of Americans already have them, whether or not they have been vaccinated.

16   II.       ARGUMENT

17             The Sixth Amendment guarantees all defendants the right to a jury venire drawn from a

18   fair cross-section of the community. Taylor v. Louisiana, 419 U.S. 522, 530 (1975); see also

19   Alston v. Manson, 791 F.2d 255, 256 (2d Cir. 1986) (“representative jury array remains the
20   expression of the community’s role in securing” an impartial trial). Challenges to a jury pool’s

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       Reuters, U.S. airlines drop mask requirements for passengers, employees (Apr. 19, 2022),
22   available at https://www.reuters.com/business/aerospace-defense/us-airlines-drop-mask-
     requirements-passengers-employees-2022-04-19/.
23   5
       See A. Hassan, The Omicron subvariants BA.4 and BA.5 have together become dominant in the
24   U.S., the C.D.C. estimates, N.Y. TIMES (June 28, 2022), available at
     https://www.nytimes.com/2022/06/28/health/covid-subvariants-ba4-ba5.html. Last month, the
25   New York Times reported that these two variants accounted for more than 50% of all new cases
     in the United States—a proportion that is only expected to climb.
26   6
       K. Katella, Omicron and BA.5: A Guide to What We Know, YALE MEDICINE (July 6, 2022),
     available at https://www.yalemedicine.org/news/5-things-to-know-omicron.
27   7
       Centers for Disease Control and Prevention, Nationwide COVID-19 Infection- and Vaccination-
28   Induced Antibody Seroprevalence, available at https://covid.cdc.gov/covid-data-
     tracker/#nationwide-blood-donor-seroprevalence.
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 1   representativity are generally governed by the Jury Selection and Service Act, 28 U.S.C.

 2   §§ 1861–78 (“JSSA”), which makes clear that “all litigants in Federal courts” are entitled to

 3   grand and petit juries “selected at random from a fair cross section of the community.” The test

 4   “is the same whether challenged under the Sixth Amendment of the Constitution or under the

 5   [JSSA].” United States v. Sanchez-Lopez, 879 F.2d 541, 546 (9th Cir. 1989) (citing United States

 6   v. Miller, 771 F.2d 1219, 1227 (9th Cir.1985)).

 7             To raise a cross-section claim, defendants must show “[1] that a ‘distinctive’ group, that

 8   is, a ‘cognizable’ group, was excluded from the jury selection process; [2] that such group was

 9   ‘systematically excluded’; and [3] that because of such exclusion the jury pool failed to be

10   ‘reasonably representative’ of the community.” United States v. Savides, 787 F.2d 751, 754 (1st

11   Cir. 1986) (internal citations omitted); see also Duren v. Missouri, 439 U.S. 357 (1979)

12   (establishing a similar, three-prong test for Sixth Amendment challenges).

13             Here, the wholesale exclusion of all unvaccinated citizens from the jury pool would

14   violate the “fair cross section” requirement.

15             First, the Court has indicated that it intends to exclude a specific and identifiable group of

16   citizens from the jury-selection process: those who have not yet been vaccinated. Although

17   courts have not yet evaluated whether “unvaccinated” citizens are a cognizable group in this

18   context, doing so is unnecessary, because there is no doubt that vaccination rates vary

19   significantly among race groups and genders. For example, in counties of the Northern District of

20   California, vaccination rates are significantly lower in the Black and Latinx populations than they

21   are in other racial groups:

22             •   In Alameda County, approximately 90% of Asian residents and 91% of Native

23                 American residents are fully vaccinated—compared to just 70% of Black residents and

24                 71% of Latinx residents. 8

25             •   In San Mateo County, more than 95% of Native American residents and 86% of

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     8
28    Alameda County Public Health Department, COVID-19 Data, available at
     https://covid-19.acgov.org/data.page?#vaccination.
                                                    3
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 1                 White residents are fully vaccinated—compared to just 81% of Black residents. 9

 2             •   In Marin County, the disparities are even more pronounced. Although 90% of Asian

 3                 residents are fully vaccinated, only 64% of Black residents are. 10

 4             •   In San Francisco County, disparities exist albeit with slightly different results:

 5                 approximately 90% of Hispanic residents are fully vaccinated—compared to just 74%

 6                 of white residents and 77% of Black residents. 11

 7             The picture is similar across California: when it comes to vaccination rates, there are

 8   material disparities between Latinx (56%), Black (60%), White (71%), and Asian-American

 9   (78%) residents. 12 That means that, by automatically excluding the unvaccinated from the jury

10   pool, this Court will disproportionately exclude Black and Latinx residents—all of whom are

11   members of “distinctive groups” for Duren purposes. See, e.g., U.S. v. Sanchez-Lopez, 879 F.2d

12   541, 547 (9th Cir. 1989) (“The first prong of the Duren test has been met. Hispanics are members

13   of a distinctive and identifiable group in the community.”); United States v. Hafen, 726 F.2d 21,

14   23 (1st Cir. 1984) (“[T]he Supreme Court has held that [Black citizens] are a “distinctive group”

15   for the purposes of jury composition challenges.”); United States v. Jackman, 46 F.3d 1240, 1246

16   (2d Cir. 1995) (“There is little question that both Blacks and Hispanics are ‘distinctive’ groups in

17   the community for purposes of this test.”).

18             The second element of the fair-cross-section analysis “requires the Court to determine

19   whether” individuals in these “‘distinctive’ groups are ‘significant[ly] underrepresent[ed]’ in the

20   jury selection process.” Jackman, 46 F.3d at 1246. Here, they would be. The vaccination rates

21   in California put a 15-point spread between White and Latinx residents and an 18-point spread

22   between Black and Asian residents. In some counties, like Marin and Alameda, those gaps are

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24   9
       San Mateo County Health, Vaccination Demographic Data, available at
     https://www.smchealth.org/post/vaccination-demographic-data.
25   10
        Marin Health & Human Services, Marin County COVID-19 Vaccination, available at
26   https://coronavirus.marinhhs.org/vaccine/data#vaccinedemographics.
     11
        See City and County of San Francisco, COVID-19 vaccinations by race and age, available at
27   https://sf.gov/data/covid-19-vaccinations-race-and-age.
     12
28      California-wide vaccination data is available at https://covid19.ca.gov/vaccination-progress-
     data/.
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 1   even more pronounced. By automatically excluding the unvaccinated from the jury pool, the

 2   Court will disproportionately eliminate Black residents (who are already a minority in Bay Area

 3   counties), as well as Latinx and younger residents. Id. at 1248 (“The fact that appellant’s venire

 4   included some residents of Hartford and New Britain (6 out of 74 or only 8.1%, compared to the

 5   16.6% in the relevant population) does not defeat appellant’s challenge, since the existence of

 6   systematic underrepresentation turns on the process of selecting venires, not the outcome of that

 7   process in a particular case.”).

 8   III.      CONCLUSION

 9             Like any defendant, Mr. Makras is entitled to an impartial jury drawn from a fair cross-

10   section of the community. Taylor v. Louisiana, 419 U.S. 522, 526 (1975); see also 28 U.S.C.

11   § 1861. “This does not mean, of course, that every jury must contain representatives of all the

12   economic, social, religious, racial, political and geographical groups of the community; frequently

13   such complete representation would be impossible. But it does mean that prospective jurors shall

14   be selected by court officials without systematic and intentional exclusion of any of these

15   groups.” Thiel v. S. Pac. Co., 328 U.S. 217, 220 (1946). Excluding unvaccinated citizens from

16   the jury pool—especially today, when vaccines no longer appear to prevent transmission of the

17   virus—would violate those principles. For that reason, Mr. Makras objects.

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19   Dated: July 20, 2022                                     KEKER, VAN NEST & PETERS LLP
20

21                                                      By:   /s/ John W. Keker
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